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                     Exhibit 6
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From:                  Herzog, Ronald S. (Ron)
To:                    Fenton, Christopher (CRM)
Cc:                    Weitz, Justin; Foster, Jacob (CRM); Ryon, Emily (CRM)
Subject:               U.S. v. Berman
Date:                  Monday, December 21, 2020 4:18:52 PM
Attachments:           image001.png
                       Email CHRIS.pdf



Chris: Please see the attached in furtherance of our call earlier this afternoon.

Ron

Ronald S. Herzog

50 Main Street, Suite 425 | White Plains, NY 10606 *UPDATED ADDRESS*
MAIL PO Box 1020, Buffalo, NY 14201
DIRECT 914.798.5419 | EXT 5119 | FAX 914.798.5401
goldbergsegalla.com




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       Chris, Thank you again for the time earlier today.

        First, let me again apologize for the statements in DECN’s December 18 press release that
resulted in your email of late yesterday. Mr. Berman, as a laymen, did not fully appreciate the
distinction between the bail conditions proposed by the government and the conditions of release
by the court on bond. Specifically, the latter provided as a condition of his release that he maintain
or actively seek employment and provide proof to PSA. Since his sole employment is with DECN,
and this was agreed to as part of Mr. Berman’s release, this was interpreted as an agreement with
a governmental agency that he can continue working at DECN. To the extent the release did not
identify the government agency or draw an express distinction between DOJ and PSA we
apologize for this inadvertent error. If DOJ wants this to be publically clarified DECN will
promptly do so.

        In addition, as I mentioned Mr. Berman is requesting DOJ’s consent to his request that
will seek Court approval of a slight modification of one of the special conditions covering his
release on bond.

         The government requested that Mr. Berman be prohibited from directing or indirectly
communicating with any DECN investors on an individualized basis. When Mr. Loughlin and I
questioned this, noting among other things that Mr. Berman was the company’s sole executive
officer and therefore needed to be able to engage in day to day communications concerning the
company, including with certain investors, you said the government wanted to avoid Mr. Berman’s
ability to discuss its case, and therefore the opportunity to attempt to influence (or even intimidate)
any investors, as you claimed he had previously done. Mr. Berman disputes that he has had any
such communications prior to his arrest, and in fact for years has been on the receiving end of
various threats and forms of intimidation, as a review of the message board postings
demonstrate. Nevertheless, in advance of this request it has been made clear to Mr. Berman that
he cannot have any individual communications with any DECN investor involving any aspect of
either the DOJ or SEC charges that were filed last week.

       Mr. Berman needs to have the ability to discuss with a discrete group of investors day to
day business matters that come up in the ordinary course, including several involving specific year-
end (and quarterly end) issues. If permitted, these discussions will be limited to financial
arrangements with the specific investor or operational issues, and will not in any way involve
any matters or claims that are currently being litigated, which is what we understood the
government was concerned about.

       We would appreciate the government’s consent to this carve-out of this special condition to
allow Mr. Berman to make this representation in his application to the Court seeking its
approval. Thank you.
